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                                          ORDERED.


     Dated: December 21, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

In re:
                                                               CASE NO.: 18-03980-JAF
SEAN CHRISTOPHER STENSON and
LINDA ROSSI STENSON,

      Debtors.
_________________________________/

                    ORDER APPROVING TRUSTEE’S APPLICATION
                  TO EMPLOY NAJI HASSAN OF 7 STAR REALTY, INC.
                     AS REAL ESTATE AGENT FOR THE ESTATE

         THIS CASE came on for consideration without a hearing on Gregory K. Crews, Chapter 7

Trustee’s (the “Trustee”) Application to Employ Naji Hassan of 7 Star Realty, Inc. as Real Estate

Agent for the Estate (the “Application”) (Doc. No. 14). Upon consideration of the Application, it

is ORDERED:

         1.     The Application is approved.

         2.     Naji Hassan of 7 Star Realty, Inc. is authorized to be employed as Real Estate Agent

for the estate and to represent and assist the Trustee in the sale of real property.

         3.     Naji Hassan of 7 Star Realty, Inc.’s compensation will be paid from the proceeds

of closing of the sale of the Property.
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       4.     Notwithstanding the above mentioned payment to Naji Hassan of 7 Star Realty,

Inc. as real estate agent, compensation will be determined by the Court in accordance with the

provisions of 11 U.S.C. § 330.



Attorney Eugene H. Johnson, Esq. is directed to serve a copy of this Order on interested parties
who are non-CM/ECF users and to file a proof of service within 3 days of entry of this Order.




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